             Case 1:21-mj-00067-ZMF Document 15 Filed 09/23/21 Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               *
                                                       *
                       vs.                             *        Case No. 1:21-mj-00067 (ZMF)
                                                       *
KASH KELLY,                                            *
         Defendant                                     *
                                                       *

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                                CONSENT MOTION TO CONTINUE
                             PRELIMINARY HEARING FOR SIXTY DAYS

        Defendant, Kash Kelly, by his undersigned counsel hereby respectfully moves this Honorable

Court to continue the Preliminary Hearing scheduled for September 24, 2021 to allow Mr. Kelly to

consider a plea agreement that the Government has tendered to him. AUSA Emory Cole consents

to this request.

        1.         Mr. Kelly is charged by Criminal Complaint with two misdemeanor offenses arising

out of his alleged conduct at the United States Capitol on January 6, 2021. See Complaint, (ECF 1,

filed 1/15/21).

        2.         A Preliminary Hearing in this matter is scheduled for September 24, 2021.

        3.         The Government has tendered a plea agreement to Mr. Kelly, who needs time to

review it and discuss its provisions with his counsel.

        4.         A non-trial resolution of the case and tolling of the Speedy Trial is in the best interests

of Mr. Kelly and of the public and furthers the interests of justice.

        5.         Mr. Kelly is presently serving a federal sentence in an unrelated case so that his

continued detention will not prejudice him as he will receive credit for the time he is serving.
            Case 1:21-mj-00067-ZMF Document 15 Filed 09/23/21 Page 2 of 2




       6.       Mr. Kelly has communicated to counsel that he consents to this request.

       WHEREFORE, Mr. Kelly respectfully requests that the Court continue the Preliminary

Hearing scheduled for September 24, 2021 for sixty days to and including November 22, 2021.


                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez
                                                    Bar No. MD 03366
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue the Preliminary Hearing was
served this 23rd day of September, 2021 on all counsel of record via ECF.



                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez




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